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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                   No. 6:24-cv-00306



                                  State of Texas, et al,
                                                  Plaintiffs,
                                           v.


                             United States Department of
                               Homeland Security, et al.,
                                                  Defendants.




      PETITIONER ROBERT A. HEGHMANN S MEMORANDUM OF LAW IN
    SUPPORT OF HIS PETITION FOR A WRIT OF ERROR CORAM NOBIS AND
     MOTION FOR DECLARATORY JUDGMENT THAT JOSEPH BIDEN AND
  KARMALA HARRIS WORKING THROUGH THE DEPARTMENT OF HOMELAND
  SECURITY ARE GIULTY OF COMMITTING A CRIME AGAINST HUMANITY AND
                              GENOCIDE



                          PRELIMINARY STATEMENT

      This Attorney has known since June, 2016, that the Obama Administration

  as guilty of Crimes a ainst Humanity, Humanity being the American People, and

 Genocide against Republican families in suburban and rural voting areas.

Unfortunately, this attorney did not initially have Standing to challenge these

international crimes. I first tried to get around the Standing barrier by intervening

in an ongoing federal lawsuit, Texas v. Biden, No. 04:21-cw00579-P. If you want a

 quick read as to why I am comfortable alleging Crimes against Humanity and


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 Genocide, go to my Intervenin Complaint an 10 accompanying Exhibits, Dkt. No.

 55. Although the Government moved to dismiss (Dkt. #60) to which I responded (Dkt.

 #66), the Judge was sufficiently impressed with my presentation that he did not

 dismiss the Intervening Complaint. Unfortunately, Texas could not sustain its

 allegations and withdrew its Complaint whereupon my intervention became moot.


         I have continued to seek a vehicle to make a case against the Obama

 Administration and now the Biden Administration. I believe I have found it in this

 case where I have filed a Petition for Writ of Error Coram Nobis raising the issues I

 attempted to raise in Texas v. Biden.


         The Supreme Court s decisions in Biden v. Texas, 597 U.S. (2022) and U.S.

 v. Texas, 599 U.S. (2023) were wrongly decided. This is not a criticism of the Court.

 It is   recognition th t a corrupt Department of Homeland Security (hereinafter

  DHS ) intentionally deceived the Court and the Solicitor General failed to challenge

 her client and do her own investigation. As result, starting this month those wrongful

 decisions will cause at least 1,500 children to be struck with Polio. Of those struck,

 at least 12 will die. Further, so many children will be infected by the D 68 Virus and

 suffer severe respiratory attacks that the Nation will not have enough hospital beds

 to treat them.


                         STANDING OF THE PETITIONER


     This attorney has filed a Petition for Writ of Error Coram Nobis in this case to

 raise issues in support of Governor Abbott s efforts to prevent illegal immigrants



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 from entering the state and to protect the citizens of the State of Texas including

 this challenge to the Parole in Place Program (PIP). Under the Rules of Procedure of

 the 5th Circuit, F.R.A.P. 4 (a)(1)(C), the granting or denial of a Petition for Writ of

 Error Coram Nobis in a civil case is an ap ealable order. Therefore, this Petitioner

 has standing to appear in this Court both by Petition and at trial.


       The counsel for the United States is totally familiar with the facts and legal

    issues I raise in this case. I attempted to raise these issues in U.S. v. Abbott, U.S.

    District Court, Western District of Texas, # U23-cv-00853-DAE and U. S. v. Iowa,

    U.S. District Court, Southern District of Iowa, # 4:24-cwl62-SHL. In those cases,

    the corrupt Department of Justice (DOJ) used its influence to prevent the

    Petitioner from presenting his case. More about than when the DOJ moves to

    dismiss this Petition.


                             JURISDICTION OF THE COURT

       The concept that federal common law may support federal

 question jurisdiction when the claim brought necessarily involves international

 law and relationships between the United States and a foreign sovereign is

 well settled and, indeed, is set forth in Section 111 of the Restatement (Third) of the

 Foreign Relations Law of the United States. In pertinent part, Section 111(2) states

 th t Cases arising under international law or international agreements of the

 United States are within the Judicial Power of the United States and, subject to the




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 Constitution and statutory limitations and requirements of justiciability, are within

 the jurisdiction of the federal courts.


    Federal courts have found federal question jurisdiction to exist with regard to

 issues of international law and international relations even when the plaintiffs

 complaint alle es only claims based on state law. For example, in Republic of

 Philippines v. Marcos, 806 F.2d 344 (2d Cir. 1986), the government of the Philippines

 brought an action in New York state court against Ferdinand Marcos, the deposed

 dictator of the Philippines, to attach certain properties in New York that were alleged

 to have been purchased by Marcos with funds of the people of the Philippines. The

 court noted that the complaint, on its face, was brought under a state law theory

 of conversion, requiring the imposition of a constructive trust or equitable liens upon

 the ill-gotten gains. The court nevertheless held that, under the plaintiffs well

 pleaded complaint, international relations were sufficiently implicated to support

 federal jurisdiction. This case involves International Law, International Treaties and

 the right of Texas to protect its citizens from Genocide. Therefore, international

 relations are sufficiently implicated to support federal jurisdiction.


      INTERNATIONAL LAW IS AT THE CENTER OF THIS CONTROVERSY
        INCLUDING, BUT NOT LIMITED TO, THE CONVENTION ON THE
        PREVENTION AND PU ISHMENT OF THE CRIME OF GENOCIDE
       The Petitioner in this action alleges that the administrations of Barrack

 Obama and Joseph Biden are guilty of Crimes against Humanity and Genocide.

 These allegations are based upon violation of rights guaranteed by the Convention on

 the Prevention and Punishment of the Crime of Genocide, Art.2, December 9, 1948,


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 78 U.N.T.S. 277, (hereinafter the Convention ) The United States signed the

 Convention on December 11, 1948 and ratified it on November 25, 1988. The Obama

 and Biden Administrations are charged under Art. II, Secs, (a) (b)and (c). The acts

 complained of are set forth in Art. Ill, Sec. (a) and (b). Venue in State courts is

 established in Article VI.


       The Petitioner also alleges violations of International Law, more particularly

 the Rome Statute of the International Criminal Court (hereinafter “the Rome

 Statute ) hich states that the elements of a crime against humanity is commission

 of any of the enumerated acts when committed as part of a widespread or systematic

 attack directed against any civilian population. Rome Statute Art. 7.1. An “attack”

 directed against any civilian population is a course of conduct “pursuant to or in

 furtherance of a State or organizational policy to commit such attack” Id. Art. 7.2 (a).

 Although the United States has not ratified the Rome Statute, it sets standards of

 International Law which will guide the Court in these proceedings. This Motion

 alleges acts of Crimes Against Humanity as set forth in Article 6 (a), (b) and (c) and

 at Article 7 (a), (g), (h) and (k) of the Rome Statute. The civilian population which is

 the target of the attacks described here in is the American suburban and rural

 population which, as the Obama and Biden Administrations well knew, is largely

 Republican.


       As an attack on a national party, herein the Republican Party, the Crimes

 against Humanity set forth below have since 1963 qualified as Genocide. See Statute

 of the International Tribunal for the Prosecution of Persons Responsible for Serious

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 Violations of International Humanitarian Law Committed on the Territory of the

 Former Yugoslavia, Article 4 (2) (a) and (b), 25 May 1993. In this case, the intent of

 the Obama and Biden Administrations to continue to engage in Genocide and Crimes

 against Humanity can be fairly inferred from the intentional actions continued after

 the initial outbreak of the EV D 68 Virus and Polio in the United States in October,

 2014 and the recent repeal of the Remain in Mexico Protocol (MPP). Instead of

 discontinuing their actions, the Defendants continued their attacks and conspired to

 mislead the American People as to the true cause of Polio re-appearing in the United

 States in 2014 after the Sabin I Vaccine eliminated Polio 50 years ago.


              THE CRIMES AGAINST HUMANITY AND GENOCIDE

       In the Convention, genocide means any of the following acts committed with

 intent to destroy, in whole or in part, a national, ethnical, racial or religious group,

  as such:




    a. Killing members of the group;
    b. Causing serious bodily or mental harm to members of the group See
       Definition: Convention on the Prevention and Punishment of the Crime of
       Genocide attached as Exhibit 1.

     Since June, 2014, the Obama and Biden Administrations had been engaged in a

  Crime against Humanity and Genocide as defined by the Convention. The

 Administrations crime consisted of distributing a virus known as EV D 68 being

  carried from Latin American countries across the U.S. Border and then distributing

 the virus into Red States and Red election districts in otherwise Blue States. The

 Virus was carried into the United States by Unaccompanied Minor Children

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  (hereinafter UMC ) from several Latin American countries. The D 68 Virus attacks

 the American suburban and rural population in two ways. First, the virus attacks

 the respiratory system. In Latin American countries, the population had gotten

  herd immunity years a o. But this virus was virtually unknown in the United

 States prior to 2014. As a result, after the first release of the virus in June, 2014,

 Americans, especially children under the age of 6, became desperately ill by the

 thousands. As will be discussed below, the rate of infections became so bad that in

 2022 children s hospitals and pediatric wards in general hospitals almost ran out of

 beds needed to treat the children. This year, 2024, is a surge year for the virus.

 This year the Nation will not have enough hospital beds to treat all of the children.

    In addition to attacking respiratory systems, the D 68 virus contains two strains

 of Polio not blocked by the Sabin 1 Polio vaccine. When American children with

 certain generic deficiencies come in contact with the Virus, it attacks nerve centers

 located within muscles in arms, hips or the central nervous system. These children

 lose the use of their arms or legs except when the virus attacks the central nervous

 system in which case the children are totally paralyzed.

    The position of the Petitioner is that this Court must determine whether or not

 Joseph Biden and Kamala Harris through the Department of Homeland Security are

 guilty of a Crime against Humanity and Genocide before it can make a legal

 determination on the issues surrounding the PIP Program.




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                                    STATEMENT OF FACTS


         The open Southern Border has nothing to do with the interests of the United States. It has

 everything to do with the political power of the Democrat Party. Prior to the election of Barack

 Obama as President, the Democrat Party determined that if an election district - a Congressional

 District, a state legislative district or a city municipal district - was 16% or more foreign born, the

 Democrat Party had a 90% chance of winning the election in that district. Thus, the decision was

 made that as soon as Barack Obama was elected President, he would use the office of the President

 to open the Southern Border and flood the U.S. with foreign born persons.



         The process began with the annual budgets for the U.S. Obama as his first order of business,

 proposed a budget for Fiscal Year 2010 which borrowed $1.75 Trillion under Article I, Sec. 8, cl.

 2 for spending under Article I, Sec. 8, cl. 1. As the Constitutional Scholar and former Editor in

 Chief of the Harvard Law Review well knew, that budget was unconstitutional. See Heghmann v.

 Geithner, Supreme Court Docket No. 10 1155 (Petition for Writ of Certiorari denied) (The

 Petitioner knew the Budget was unconstitutional and tried to stop the spending but his District

 Court case was dismissed for lack standing. The Second Circuit affirmed and the Supr4eme Court

 denied Certiorari) However, since the Democrats held the House and 60 votes in the Senate, the

 budget passed. Obama would subsequently borrow another $1.0 Trillion in the Budget for F.Y

 2011.


         Since these borrowed funds were raised outside the budget process, they represented a

private stash for the Democrats under Obama. They used the funds to create an entirely new

 government, one designed to bring in millions of foreign-born persons from across the Southern

Border and distribute the foreign-born persons geographically into Red States, Red Congressional


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 Districts and state legislative districts in Blue States. The primary federal agencies in charge of

 immigration are listed in Exhibit 2. They received the bulk of the $2.75 Trillion.


         The number one target was always Texas. While other Red States would receive many

 UMCs, Texas was at the top of the list. If Texas was turned blue, all of the others would soon

 follow. What was true in 2014 is true today as the article Soros-Funded Group Seeks to Turn

 Texas Blue with Mass Immigration, John Binder, Breitbart News, June 20, 2023 attached as

 Exhibit 3 proves. This article lays out the strategy for open borders.



        Launch date was scheduled for June, 2014. As the launch date approached, someone in the

 Obama inner circle suggested that a study be done of potential migrant children who would be

 targeted for transfer into the U.S. to see what illness they may bring with them. Obama agreed and

 Navy Medical Unit #6 based in Lima, Peru was selected to do the study. The link between EV D

 68 and Latin American children was established in a peer-reviewed medical article published in

 Virology Journal on October 11, 2013 titled Human rhinoviruses and enteroviruses in influenza¬

 like illness in Latin America which attached in part (first three pages) as Exhibit 4. It was written

 by a team of virologists headed by Josefina Garcia, U.S. Medical Unit #6, who worked with the

 Fogarty International Center at the National Institutes of Health in Bethesda, Maryland.



        In the 2013 study, Garcia and her medical associates collected 3,375 nose and throat swab

 samples from subjects under 8 years old with a median age of 3 years. They found that human

 enteroviruses (HEV), including EV-D68, was discovered in 3 percent of the samples while the

 related human rhino viruses (HRV) were found in 16 percent of the samples. The study also

 concluded that there was little doubt that EV-D68 was transmitted through poor bathroom hygiene.

 A typical example cited is an infected doorknob that could transmit a virus to healthy children for


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 the next three to five days after being touched by an infected UMC. A secondary possibility of

 transmission is via the respiratory oral-to-oral route more likely to occur in crowded living

 conditions such as schools and play grounds.



        The authors of the study, who knew nothing of the Obama Administration s plan to release

 thousands of UMCs into the United States, concluded, In Latin America as in other regions, HRVs

 and HEVs account for a substantial proportion of viruses identified in young people with ILI

 (influenza-like illness), a finding that provides additional support for the development of

 pharmaceuticals and vaccines targeting these pathogens. What the authors could not foresee was

 that millions of UMCs were about to be released into the U.S.



        EV D 68 is not native to the U.S. It was unclear what the impact of the virus would have

 on the American people. More importantly, Unit #6 found that in a certain percentage of the

 children carrying the D 68 virus, there were two strains of Polio. See Exhibit 4 at 3. While this

 could certainly be a threat to Americans, especially children, as it was not known if the Sabin 1

 vaccine administered to infants would protect American children from the two strains of Polio.



        While the medical report was disturbing, the Obama Administration had gone beyond the

 point of no return. The $2.75 Trillion had been borrowed, the government bureaucrats had been

 assembled and, more importantly, 10,000 UMCs were sitting at the Mexican border ready to enter

 the U.S. See Obama Approves Plan to Let Children in Central America Ap ly for Refugee Status,

 Michael D. Shear, On Politics with Lisa Lerer, September 30, 2014 attached as Exhibit 5 at 1.

 Obama gave the green light and soon the Obama Administration began the release of 55,000 illegal

 immigrants between June, 2014 and January, 2015. Once again, Texas was at the top of the list.

 See Texas tops list of states where this year’s unaccompanied child mi rants ended up, Jens


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 Mandel Krogstadt and Ana Gonzalez-Barrera, Pew Research Institute, December 11, 2014

 attached as Exhibit 6. The Court will notice what the organizational effect of $2.75 Trillion will

 get you. Not only do 10,000 UMCs arrive on schedule at the Southern Border but lead by the DHS

 they were immediately swept away to their designated locations in the Red States and Red

 Congressional Districts in Blue States.



        After seeing how well Pew Research organized and presented the data on where UMCs

 were being sent, the Administration decided not to tell anyone, not even Congress, where illegal

 aliens were being sent thereafter. See Biden s DHS Refusing to Disclose where in U.S. Illegal

 Aliens are Bein Sent, John Binder, Breitbart News, August 11, 2021 attached as Exhibit 7. The

 reason is that they are using Illegal Aliens to turn Red States like Texas Blue. See Exhibit 3, supra.



                 i The Biden Administration is Committing a Crime against Humanity.



        As stated, D 68 is not native to the U.S. However, beginning in 1962 cases of D 68 infection

  were seen mainly in California and Colorado in persons who traveled to China or the Asian Pacific

  Rim on business or pleasure. The persons infected suffered only mild, flu-like symptoms. There

  were only 26 isolations of the D 68 virus between 1970 and 2005. Between 2005 and 2014, there

  were only one or two cases reported each year.



        Once the release of illegal immigrants began in June, 2014, cases of D 68 virus appeared

  almost immediately. From mid-August 2014 to January 15, 2015, CDC or state public health

  laboratories confirmed 1,395 cases in 49 states and the District of Columbia with respiratory

  illness caused by EV-D68. Almost all of the confirmed cases were among children, many whom

  had asthma or a history of wheezing. Despite this proof that the D 68 virus in the U.S. would only



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  increase, first the Obama Administration and now the Biden administration has only continued to

  release illegal immigrants into the U.S. In 2022, the outbreak of the D 68 virus was so great that

  children s hospitals and pediatric units in general hospitals began to run out of beds to treat

  children. See Doctors say RSV is hittin toddlers hard this year as sick kids line up for hospital

  beds across the US attached as Exhibit 8. In Connecticut, the crisis got so bad medical authorities

  considered asking state military medical units to set up beds next to hospitals so that the children

  could be treated. See Children s hospital flooded with RSV patients considers askin National

  Guard for help, Caroline Kee, TODAY, October 20, 2022 attached as Exhibit 9.


        Nor are the children suffering flu-like symptoms. Young children including infants required

  tubes be inserted into their throats in order to get oxygen into their lungs. Now, 2024 is a surge

  year for the D 68 virus. Starting this month, children will begin arriving at children’s hospitals.

  This year, there will not be enough beds to care for all of the children who need hospitalization.

  Nevertheless, the Biden Administration continues to keep the Border open.



     In order not to link the explosion in children’s serious respiratory illness to D 68, the Centers

  for Disease Control and Prevention (hereinafter C.D.C. ) invented a new term, respiratory

  syncytial virus or RSV. Despite evidence to the contrary, the C.D.C. denied a causal link between

  the surge of illegal-alien children from Latin American and the D 68 outbreak in the U.S. See DC

  Denies Enterovirus link to Illegal-Alien Kids, Jerome R. Corsi, World News Daily, 10/15/2014

  attached as Exhibit 10. To this day, the C.D.C. denies the link between the open Border and the

  D 68 virus.




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                          ii. The Biden Administration is Guilty of Genocide


        For 70 years, the Sabin 1 Vaccine eliminated Polio from the U.S. When the Navy Medical

  Unit #6 reported that Latin American children were carrying D 68 which contained two strains of

  Polio, the Obama Administration decided to gamble and release the 10,000 children assembled at

  the Mexican Border into the U.S. In all, the Obama Administration released 56,000 illegal

  immigrants into the U.S. between June 2014 and January 2015. As planned, these 56,000

  immigrants were distributed to 49 states and the District of Columbia. See Exhibit 6, supra. The

  state which received the most illegal immigrants was Texas which received 7,000.



     It did not take long to determine whether or not the Sabin 1 vaccine protected children from

  the strains of Polio contained in the D 68 virus. Within five months, doctors across the country

  were treating cases of Polio-like syndrome. See The Mysterious Polio-Like Disease af ecting

  American Kids, Dan Jurley, October 24, 2014 attached as Exhibit 11. Once again, the C.D.C.

  stepped in to prevent D 68 from being accused as the cause of the new Polio. The C.D.C. coined

  another new name, Acute Flaccid Myelitis or AFM, as the cause of the new Polio. This new name

  took hold almost immediately. See Enterovirus Blamed for Polio-like Acute Flaccid Myelitis in

  Kids, Peter Schelden, Medical Health News, 10/24/2019 attached as Exhibit 12. Between August

  2014 and January 2015, 1,153 Americans, mostly children, were infected with Polio. Of these, 14

  children died. These number of infections were greater in 2016 and 2018.



     As discussed above, the D 68 virus spikes every other year. Attached as Exhibit 13 is a chart

  prepared by the C.D.C. that shows the “spikes in 2014, 2016 and 2018. Also attached as Exhibit

  14 is chart titled 2018 confirmed cases of acute flaccid myelitis (AFM) by state, Anne-Gerard




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  Flynn, The Republican, December 27, 2018. By 2018, the new Polio was a national scourge being

  covered up by the Obama Administration, the Democratic Party and the Media.



    THIS COURT MUST UNDERSTAND THE SUFFERING OF THE CHILDREN AND
             FAMILIES OF THOSE STRICKEN BY THE NEW POLIO

         Beyond the statistics lie the children. Since 2014,1 have collected dozens of news articles

 describing the horrors faced by the children and families of those stricken by the new Polio. For

 the purpose of this Petition, I have selected two such articles, They cry in their hospital beds:

 Mothers of two bo s diagnosed with m sterious polio-like illness reveal their sons heart breakin

 stru le to breathe, move and come to terms with their paralysis, Mary Kekatos, the Daily

 Mail.com, 1 November 2018 attached as Exhibit 15 and Parents accuse C C of not re ortin

 children’s deaths from polio-like AFM, Elizabeth Cohen, Senior Medical Correspondent, CNN,

 November 13, 2018 attached as Exhibit 16. These articles began as local news segments aired live

 on local TV. The TV. broadcasts included home videos showing the children before and after

 being stricken by the new Polio. The contrast was both overwhelming and heart breaking.



         One day I encountered a victim of the new Polio. While checking out at an H.E.B. food

 store in Georgetown, Texas, I turned around and saw a beautiful 13 or 14 year old girl. Her right

 arm hung uselessly from her right shoulder. She used her left hand to help her grandfather unload

 his cart. I desperately wanted to engage her in conversation to learn more about how she lost the

 use of her arm but having read as much as I have about the new Polio, I knew the psychological

 and emotional damage done by the new Polio far surpasses the physical damage. Imagine this

 lovely child on the verge of becoming a woman who was undoubtedly fearful of going to parties

 or dances with her arm uselessly hanging from her shoulder. I feared if I approached her, I would

 trigger a panic attack.


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                                           2018-2019


        As Exhibit 13, supra, shows, 2018 was a disaster for the children of America. The

 American medical community was totally frustrated by the failure of the C.D.C. to deal with the

 crisis. See Acute Flaccid Myelitis, the polio-like syndrome leaving some children paralyzed,

 Maggie Fox, NBC News, October 25, 2018 attached as Exhibit 17. Frustrated, individual doctors

 were doing their own experiments including injecting mice with the D 68 virus. The mice showed

 the same effect as children. They were paralyzed. Despite this, the C.D.C. was still denying the

 link between D 68 and Polio. See More U.S, kids et paralyzin illness, cause is still unknown,

 Mike Stobbe, Associated Press, November 13, 2018 attached as Exhibit 18.



        But help was in the way. Between January 2018 and January 2019, three (3) privately

 funded Reports by doctors and scientists identified the cause of the New Polio. The three Reports

 were in total agreement. EV D 68 was the cause of the new Polio. See The Association between

 acute flaccid myelitis ( FM) and Enterovirus D6 (EV-D68)-what is the evidence for causation?

 Amalie Dyda, et. al, Eurosurveillance.org, January 18, 2018 attached as Exhibit 19, Enterovirus

 D68 - The New Polio? Hayley Cassidy et. al., Frontiers in Microbiology, Nov. 13, 2018 attached

 as Exhibit 20 and Report on the 2018 Acute Flaccid Myelitis Outbreaks in the USA, Dillon C.

 Adam, Global Biosecurity, February 14, 2019 attached as Exhibit 21, Even more importantly,

 President Donald Trump was about to tackle the Polio problem.



     PRESIDENT TRUMP STOPPED THE POLIO AND SPARED THOUSANDS OF
    AMERICAN CHILDREN FROM HOSPITALIZATION, PARALYSIS AND DEATH
                        BETWEEN 2020 AND 2022

        As noted above, 2018 was an absolute health care disaster for American

 Children. Although President Trump was elected in 2016 and sworn in during

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 January, 2017, Congress and the courts staled his efforts to immediately ain control

 of the Border. In fact, it was not until June 23, 2018 that President Trump could begin

 to exercise control of the Border. We know the date because as soon as he began to

 close the Border by putting up chain fences, he was attacked by the Main Street

 Media as a racist , These attacks were lead by Joe Scarborough and Mika Brzezinski

 of “Morning Joe , ffee Joe Scarborou h on defendin Trump:          f you support him, you

 are racist, Travis Gettys, salon.com, June 23, 2018 attached as Exhibit 22. These

 baseless attacks continue to this day.



        Trump s plan was two-fold. First, secure the U.S. side of the Border. He did

 this by building “the Wall” and empowering the men and women charged with

 supporting the Border. They responded brilliantly and the U.S. Side was soon secure.

 But President Trump knew it was even more important to get Mexico to secure the

 Southern side of the Border. He did this by getting Mexico to take back illegal

 immigrants returned to Mexico by U.S. authorities.



        The Migrant Protection Protocols ( MPP ), often called the Remain in Mexico policy,

 was a policy commenced by the Department of Homeland Security (“DHS ) in January 2019

 forcing certain non-Mexican migrants primarily asylum seekers arriving at the southern border

 to remain in Mexico pending the resolution of their immigration proceedings. MPP was

 negotiated, agreed to and announced by the Governments of Mexico and the United

 States in 2018. Specifically, the Mexican Government agreed to the U.S. request that

 Mexico allow, on a temporary” basis, migrants bound for the United States

 including certain migrants from Guatemala, Honduras, and El Salvador to remain

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 in Mexico pending their immi ration proceedings in the United States. The

 expectation when MPP was negotiated was that the Mexican Government would then

 arrange for the housing and logistics for tens of thousands of those migrants to live

 in Mexico, receive 3 lawyers from the United States, and travel to the United States

 for court hearings.



       For American children, MPP was a God send. After the adoption of MPP, this

 was the result:



              Acute flaccid myelitis (AFM) is a serious neurologic condition primarily
       affecting children! AFM can cause acute respiratory failure and permanent
       paralysis. AFM is a rare but known complication of various viral infections,
       particularly those of enteroviruses (EVs). Increases in AFM cases during 2014,
       2016, and 2018 were associated with EV-D68 infection. This report examines
       trends in confirmed AFM cases during 2018 2022 and patients' clinical and
       laboratory characteristics. The number of AFM cases was low during 2019-
       2022 (28-47 cases per year); the number of cases remained low in 2022 despite
       evidence of increased EV-D68 circulation in the United States. Compared with
       cases during the most recent peak year (2018), fewer cases during 2019-2021
       had upper limb involvement, prodromal respiratory or febrile illness, or
       cerebrospinal fluid pleocytosis, and more were associated with lower limb
       involvement, (emphasis added) See Surveillance for Acute Flaccid Myelitis -
       United States, 2018'2022, Erin R. Whitehouse, Public Medicine attached as
       Exhibit 22.

       The analysis by Ms. Whitehurst has been confirmed by the C.D.C. The chart

 attached as Exhibit 13 extended from 2014 to 2018. That same chart now extended

 to 2021 is attached as Exhibit 24. The new chart confirms that there was no surge

 in 2020.




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        TO RECREATE THE OPEN BORDERS UNDER THE OBAMA
 ADMINISTRATION, BIDEN CANCELS MPP AND OPENS THE BORDER AGAIN

       Joseph Biden was sworn in as President on January 20, 2021. On that very

 day he issued an Executive Order revoking President Trump s interior immi ration

 enforcement policy, the policy that secured the Southern Border from the American

 side. On February 16th Biden issued an Executive Order Reversing the Remain in

 Mexico: Policy for Asylum Applicants. In short, he was dumping the overwhelming

 successful MPP pro ram and opening the Southern Border.


       On October 29, 2021, DHS Issued a New Memo to Terminate MPP which is

  attached as Exhibit 25. The Court can read it if it wishes but it is a waste of time.

  The time is better spent reading:


    BRIEF OF THE UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
  CATHOLIC LEGAL IMMIGRATION NETWORK, INC., AND CATHOLIC
  CHARITIES USA AS AMICI CURIAE SUPPORTING PETITIONERS (the United
  States).
     This Amici Brief filed in Biden v. Texas, supra., does what DHS did not want to

  do, clearly and concisely explain what the Biden Administration wanted to do.


             Secretary Mayorkas, in his second memorandum terminating MPP, stated
    that “costs on the individuals who were exposed to harm while waiting in Mexico
    outweighed the costs to the American public of increased “migratory flows.” U.S.
    DEPT. OF HOMELAND SEC., TERMINATION OF MPP PROGRAM MEMO
    (Oct. 29, 2021). Further, in DHS’ addendum to Secretary Mayorkas’
    memorandum, “Explanation of the Decision to Terminate the Migrant Protection
    Protocols , the agency again asserted that Secretary Mayorkas placed certain
    policy preferences of the Biden Administration ahead of decreasing the number of
    illegal crossings at the border: 7
               the Secretary has concluded that this benefit [decreasing the flow of
       illegal migration] cannot be justified, particularly given the substantial and
       unjustifiable human costs on the migrants who were exposed to harm while in
       Mexico, and the way in which MPP detracts from other regional and domestic
       goals and policy initiatives that better align with this Administration’s

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       values... U.S. DEPT. OF HOMELAND SEC., EXPLANATION OF THE
        DECISION TO TERMINATE THE MIGRANT PROTECTION PROTOCOLS,
        (Oct 29, 2021) at 23-24.
              Simply put, Secretary Mayorkas decided to relinquish operational
        control of the southern border in order to provide a benefit to certain foreign
        nationals on the basis of the policy preferences of the Biden Administration.
        (emphasis added)
        Given a choice between America s children and foreign nationals, Democrats

 and President Biden have clearly expressed their preference for forei n nationals.


 UNDER THE CONVENTION, THE RIGHT OF STATES ARE SUPERIOR TO THE
  ADMINISTRATIVE RIGHT OF DHS TO CONTROL SECURITY WITHIN THE
                        STATE OF TEXAS
        Under Chapter V of the Convention, in order to protect the Citizens of a State

  from Genocide, a State has not only the clear right but the clear obligation to adopt

  state legislation to stop the Genocide. That right is clearly superior to any

  administrative powers DHS has under the Administrative Procedures Act. This

  right is reserved to the State under Article V and under the Treaty signed by the

  United States and ratified by the Senate, Congress has no power to interfere with

  the decision of a State as to how to protect its citizens. For this Court to interfere

  with the exercise of a State’s right, it would not only have to show the legislation was

  arbitrary and capricious but would also have to find an equally effective le islative

  way to achieve the desired result. No such legislative way has been suggested.


    BEFORE PROCEEDING FURTHER, THIS COURT MUST DETERMINE
 WHETHER OR NOT THE BIDEN-HARRIS ADMINISTRATION IS COMMITTING
          A CRIME AGAINST HUMANITY AND/OR GENOCIDE
        The Convention establishes the legal right of states such as those named as

 Plaintiffs in this litigation to assert rights under International Law such as the Rome

 Statute and the Convention. The determination as to whether or not the Convention

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 protects their assertion must be made before this Court reaches the merits of the PIP

 dispute. To force this issue, the Petitioner has filed a companion Motion for a

 Declaratory Judgment that the Biden-Harris Administration workin through the

 Department of Homeland Security is Committing a Crime against Humanity and

 Genocide. Given the importance of the Border issue in the coming election and the

 ar ument made by the Harris campaign that the Border is currently open because

 former President Trump and the Republicans blocked a bi-partisan agreement that

 would have solved the Border problem, this Court owes it to the American voters to

 issue its opinion on the cause of the open Border and Polio at the earliest possible

 date.


                                   CONCLUSION

         Joseph Biden and Kamala Harris working through the Department of

 Homeland Security must be found GUILTY of committing a Crime against Humanity

 and Genocide.


 Dated: September 7, 2024


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                               CERTIFICATION

       The Petitioner hereby certifies that a copy of this Memorandum of
  Law was served upon lead counsel for each party and the Clerk of the

  Court by U.S. Mail, Postage-Prepaid on September 7, 2024.




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